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 5                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
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 7   UNITED STATES OF AMERICA,
                                                   NO: 2:13-CR-0024-TOR-1
 8                             Plaintiff,
                                                   ORDER GRANTING DEFENDANT’S
 9         v.                                      MOTION TO MODIFY CONDITIONS
                                                   OF RELEASE
10   RHONDA FIRESTACK-HARVEY,

11                             Defendant.

12         BEFORE THE COURT are Defendant’s Motion for Permission to Modify

13   Conditions of Release (ECF No. 789) and Motion to Expedite (ECF No. 790). The

14   motions were submitted for consideration without oral argument. The Court has

15   reviewed the motions and the file therein and is fully informed.

16         On October 2, 2015, Defendant was sentenced to a year and day term of

17   incarceration and ordered to surrender for service of her sentence at the direction of

18   the United States Probation Office at the conclusion of any appeal taken in this

19   matter. At the conclusion of the hearing, the Court granted Defendant’s motion to

20   remain released pending the disposition of any appeal and released Ms. Firestack-


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     OF RELEASE ~ 1
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 1   Harvey on the previously imposed conditions. Pursuant to those conditions of

 2   release, Defendant is not allowed to travel outside the Eastern District of

 3   Washington without advance permission from the Court or the United States

 4   Probation Office. Defendant now seeks the Court’s permission to travel to and

 5   temporarily reside in Kirkland, Washington, to recuperate from a recent medical

 6   procedure. The Defendant has been granted permission to travel during the

 7   pendency of this matter with no problems and has otherwise abided by the

 8   conditions of her release. In her motion, the Defendant notes that the government

 9   is not opposed to her request. The United States Probation Officer has been

10   contacted and does not oppose the request, but notes that notification to the United

11   States Probation Office for the Western District of Washington, as well as the

12   possibility of a temporary transfer of supervision, may be required. The Court finds

13   that good cause exists to modify Defendant’s conditions of release and allow her to

14   travel to and temporarily reside in Kirkland, Washington through December 31,

15   2015, unless otherwise directed by the United States Probation Office.

16         ACCORDINGLY, IT IS HEREBY ORDERED:

17         1. Defendant’s Motion to Modify Conditions of Release (ECF No. 789)

18   and Motion to Expedite (ECF No. 780) are GRANTED.

19         2. Defendant is permitted to travel to and temporarily reside in Kirkland,

20   Washington, between October 13, 2015 and December 31, 2015.


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 1         3. Defendant shall notify the U.S. Probation Office of her travel plans

 2   prior to departure and immediately upon return to the Eastern District of

 3   Washington.

 4         4. If directed by the United States Probation Office, Defendant shall submit

 5   to temporary supervision by the United States Probation Office for the Western

 6   District of Washington.

 7         5. All other terms and conditions of Defendant’s probation remain in effect.

 8         The District Court Executive is hereby directed to enter this Order and

 9   furnish copies to counsel.

10         DATED October 13, 2015.

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12                                   THOMAS O. RICE
                                  United States District Judge
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     ORDER GRANTING DEFENDANT’S MOTION TO MODIFY CONDITIONS
     OF RELEASE ~ 3
